                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   CASE NO. 1:20-cv-00954-WO-JLW

 FARHAD AZIMA,

                    Plaintiff,
                                             PLAINTIFF’S MOTION TO
      v.
                                           MODIFY SCHEDULING ORDER
 NICHOLAS DEL ROSSO and                       AND TO EXTEND TIME
 VITAL MANAGEMENT SERVICES,
 INC.,

                    Defendants.


      Pursuant to Federal Rule of Civil Procedure 16(b)(4), Plaintiff hereby

respectfully requests the Court to modify the Scheduling Order (ECF No. 93)

to extend the fact discovery deadlines by 180 days and the expert deadline by

an additional ninety days.* In support of this motion, Plaintiff shows the Court

to the following:

      1.     Pursuant to the Scheduling Order entered by this Court on

November 16, 2023, fact discovery shall be completed by July 1, 2023, “[t]he

parties shall designate experts by the close of fact discovery, and expert

discovery shall conclude by August 1, 2023.” ECF No. 93 at 2.




      *
        On May 16, 2023, the Court ordered that the parties were not to file
any further discovery motions because the Court was preparing for a hearing
on the substantive discovery issues. See ECF No. 229. Plaintiff submits that
the instant motion, which merely seeks an extension of the discovery deadlines
to allow the Court to rule on the outstanding motions, is not a substantive
discovery motion and does not violate the Court’s May 16, 2023, Order.


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      2.     The Court currently has before it sixteen substantive motions

involving the scope of discovery and related issues. Due to these pending

discovery disputes, substantial discovery is still outstanding. For example, the

parties have noticed eight depositions that have not been conducted, including

depositions of the Parties. Multiple witnesses have refused to produce any

documents until the Court rules on the outstanding discovery motions.

      3.     Because discovery is incomplete, the parties are also unable to

designate experts by the July 1, 2023, deadline.

      4.     “A schedule may be modified only for good cause and with the

judge’s consent.” Fed. R. Civ. P. 16(b)(4). Here, the Court has good cause to

modify the Scheduling Order, as there are still numerous outstanding

discovery motions pending before the Court that will affect the scope of

discovery.

      5.     Counsel for Plaintiff has conferred with counsel for Defendants on

this motion. Defendants requested an extension of the expert designation

deadline and agreed that modification of the Scheduling Order was necessary

with regard to expert designations. Defendants did not agree, however, to an

extension of other discovery deadlines. Plaintiff submits that the Court should

simply extend all discovery deadlines to allow time for the Court to rule on the

outstanding motions and to allow the Parties to complete discovery in an




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effective manner that will be consistent with the Court’s rulings on the

outstanding discovery motions.

     Accordingly, Plaintiff respectfully requests that the Court modify the

Scheduling Order (ECF No. 93) to extend the fact discovery deadlines by 180

days to December 28, 2023, and the expert deadline by an additional 90 days

to March 27, 2024.

     Respectfully submitted on this, the 29th day of June, 2023.

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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-CV-954-WO-JLW


FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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This, the 29th day of June, 2023.

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